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 1   Michelle Park Chiu (State Bar No. 248421)
     MORGAN, LEWIS & BOCKIUS LLP
 2   One Market, Spear Street Tower
     San Francisco, CA 94105
 3   Telephone: (415) 442-1000
     Facsimile: (415) 442-1001
 4   michelle.chiu@morganlewis.com
 5   J. Clayton Everett, Jr. (pro hac vice)
     MORGAN, LEWIS & BOCKIUS LLP
 6   1111 Pennsylvania Ave., NW
     Washington, DC 20004
 7   Telephone: (202) 739-3000
     Facsimile: (202) 739-3001
 8   clay.everett@morganlewis.com
 9   Counsel for Defendants TDK Corporation,
     Magnecomp Precision Technology Public Co.
10   Ltd., Magnecomp Corporation, Hutchinson
     Technology Inc., and SAE Magnetics (H.K.) Ltd.
11

12
                                 UNITED STATES DISTRICT COURT
13
                              NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15

16
     In re: Hard Disk Drive Suspension Assemblies     Case No. 3:19-md-02918-MMC
17
     Antitrust Litigation                             MDL No. 2918
18
                                                      DECLARATION OF J. CLAYTON
19                                                    EVERETT, JR. IN SUPPORT OF
                                                      DEFENDANTS’ MOTION TO
20   THIS DOCUMENT RELATES TO                         EXCLUDE DECLARATION OF
                                                      JANET S. NETZ
21   ALL END-USER PLAINTIFF ACTIONS
                                                      Hon. Maxine M. Chesney
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                                                                          CASE NO. 3:19-MD-02918-MMC
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 1           I, J. Clayton Everett, Jr., declare as follows:

 2           1.      I am a partner in the law firm of Morgan, Lewis & Bockius LLP, and I am one of

 3   the attorneys responsible for the representation of Defendants TDK Corporation, Magnecomp

 4   Precision Technology Public Co. Ltd., Magnecomp Corporation, Hutchinson Technology Inc.,

 5   and SAE Magnetics (H.K.) Ltd. in this matter. I submit this declaration in support of Defendants’

 6   motion to exclude the declaration of Janet S. Netz, which was filed in support of End-User

 7   Plaintiffs’ motion for class certification.

 8           2.      The following facts are within my personal knowledge and, if called and sworn as

 9   a witness, I could and would testify competently to these facts.
10           3.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the transcript

11   of the deposition of Dr. Janet S. Netz held on December 6, 2022, filed under seal.

12           I declare under penalty of perjury that the foregoing is true and correct. Executed on this

13   23rd day of December 2022.

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                                                                   J. Clayton Everett, Jr.
15                                                                 J. Clayton Everett, Jr.
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                                                               CASE NO. 3:19-MD-02918-MMC
     DECLARATION OF J. CLAYTON EVERETT, JR. IN SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE
                                DECLARATION OF JANET S. NETZ
